6-BLW..Document 36 -Filed 07/12/21 Page 1 of 26 ee

 

 

 

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—Case-3:18-¢r-00026-BLW Document 36 Filed 07/12/21 Page 26 of 26 ©

 

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